
369 U.S. 662 (1962)
GARRETT
v.
UNITED STATES.
No. 773, Misc.
Supreme Court of United States.
Decided May 14, 1962.
ON PETITION FOR WRIT OF CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE DISTRICT OF COLUMBIA CIRCUIT.
Petitioner pro se.
Solicitor General Cox, Assistant Attorney General Miller, Beatrice Rosenberg and Robert G. Maysack for the United States.
PER CURIAM.
The motion for leave to proceed in forma pauperis and the petition for writ of certiorari are granted. The judgment is vacated and the case is remanded for consideration in light of Coppedge v. United States, ante, p. 438.
MR. JUSTICE CLARK and MR. JUSTICE HARLAN dissent for the reasons stated in their dissenting opinion in the Coppedge case.
MR. JUSTICE FRANKFURTER took no part in the consideration or decision of this case.
